Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 1 of 63

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

KORONE RGBINSON,
P1aintiff,

vS. CIVIL ACTION

CITY OF DARIEN, DARIEN FILE NO. 2:17-CV-99
POLICE DEPARTMENT, DONNIE
HOWARD, RYAN ALEXANDER and
JOSEPH CRESWELL,

Defendants.

Vvvvv`/`/V`/vv`/

 

DEPOSITION OF
ROBERT GAULT

February 23, 2018
12:39 p.m.

Brown, Readdick, Bumgartner, Carter
Strick]and & Watkins
5 G1ynn Avenue
Brunswick, Georgia

Suzanne R. Robinson, RPR, CCR 5026-1420-3354-3168

 

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Case 2:17-cv-00099-LGW-BWC Document27-10 Filed 06/18/18

Page 2 of 63

 

 

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Carter,

 

GILBERT & JONES

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 3 of 63

 

 

By

By
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Ms.
Ms.
Ms.
Ms.
Ms.
Ms.

INDEX TO EXAMINATIONS

Examination

Mitche11
Hancock
Mitche]]
Hancock
Mitche11

Hancock

P1aintiff's
Exhibit

Exhibit 1

(OriginaT Exhibit 1 has been attached to the

INDEX TO EXHIBITS

Descrigtion

Diagram

origina1 transcript.)

50
54
56
59

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 4 of 63

 

 

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(Reporter disciosure made pursuant to

Artic]e 10.B. of the Ru1es and Regu1ations of

the Board of Court Reporting of the Judicia1

Counci1 of Georgia.)

ROBERT GAULT,

having been first du1y sworn, testified as fo11ows:
EXAMINATION

BY MS. MITCHELL:

Q. Can you p1ease state your name for the
record.

A. Robert Gau1t.

Q. A11 right. Mr. Gauit, have you ever had
your deposition taken before?

A. Yes.

Q. 0h, good. Then 1'11 just refresh your
memory as far as some of the ru1es. The court
reporter is taking down your testimony --

A. Okay.

Q. -- so it has to be verba]. Does that make
sense?

A. Right.

Q. Answers need to be verba1. And I try to

have a 1aid back environment, so if we end up taiking
over each other, we need to make sure to make an

effort to stop, or I'm sure the court reporter wi11

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 5 of 63

 

 

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iet us know we're doing it.
A. Okay.
Q. And the testimony you're giving is under
oath.
A. Okay.
Q. And it's to be used in conjunction with a

Federa1 suit that's pending right now from Officer
Robinson against the City of Darien.

A. Correct.

Q. And it can be used for any purposes
ai]owabie under the Federa1 Ru1es of Evidence or the
Federa1 Civi1 Practice Act.

A. Yes.

Q. You have the chance to do what's ca11ed
read and sign iater, which is you can read the
deposition and check for typos in the way the
testimony was done, or you can just say, No, I'm fine
with it, when I'm done. 0kay?

A. No, I'm good.

Q. And the oniy other thing to remember, when
I ask a question, if it's a confusing question or
convoiuted, you can a1ways ask me to rephrase it or
just teii me it doesn't make sense.

A. Okay.

Q. A11 right. With that, we'11 get started.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 6 of 63

 

 

6

A. A11 right.

Q. Are you currentiy empioyed?

A. I am.

Q. And do you work in 1aw enforcement as
we11?

A. I do.

Q. A11 right. I'11 ca11 you Officer Gauit.
Is that acceptab1e?

A. Deputy.

Q. Deputy Gauit. And your rank at the moment
is sergeant major?

A. Yes, ma'am.

Q. And that wou1d be easier to say, Sergeant
Major.

A. Yes, ma'am.

Q. A11 right. When you first get into 1aw
enforcement?

A. In 2012.

Q. And where did you start?

A. Darien PD.

Q. Did you go to the academy?

A. I did.

Q. Did Darien send you?

A. No. They hired me 1ike a month before I

graduated.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 7 of 63

 

 

So you got hired whi1e in the --
I was pre-service.
In -- oh.

I was pre-service. I put myse1f through.

P.>D>z=>

A11 right. And what position did you
start in with Darien PD?

Officer.

And were you in Patro]?

I was.

And how iong did you stay at Darien PD?

_>.D>._D>

I gave them a two-year verba1 commitment,
and I worked my two years, and then I 1eft and went
to the County.

Q. So 2014, does that sound right?

A. Yes. It shou1d be Ju1y 2014, I think I
ieft the City and went with the County.

Q. And you went to the County -- when you say

the County, do you mean McIntosh?

A. Yes, sir -- yes, McIntosh County.

Q. And are you sti11 with McIntosh County?
A. I am.

Q. A11 right. When you first went to

McIntosh, what division did you start in?
A. PatroT.

Q. Did you receive any promotions, or have

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 8 of 63

 

 

you received any promotions?

A. I started in Ju1y of '14 in Patroi.
January of '15, 1 was moved to Investigations, and I
worked in Investigations for two years. In January
of '17, I was moved back out to Patr01 as a
sergeant.

l was promoted to corpora1 whi]e I was in
Investigations. And then, 1ike I said, January of
'17, I moved to Patro] as a sergeant. Then in June
or Ju1y of 1ast year, I got promoted to sergeant
major.

Q. Dkay. And you're now a sergeant major

over Patroi?

A. Yes, ma'am.

Q And who do you report to?
A. Major Mitcheii.

Q Major. Okay.

And are you the on1y sergeant major over

Patroi?
A. Yes.
Q. And when you were in Investigations, wou1d

you actua11y work any Narcotics cases?
A. Yes. I was actuai]y assigned to the
Narcotics division --

Q. Okay.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 9 of 63

 

 

A. -- I think Apri1 of '16 -- or, yeah, '16
-- '15, sometime around there.

Q. Now, going what back to your time at
Darien Poiice Department, do you reca11 writing an
affidavit that was provided to the EEDC in response
to Officer Robinson?

A. Yes.

Q. And it's a1ready been submitted in another
deposition, so rather than sitting here and reading
through it, we'11 just go ahead and go through some
of the categories that were in it, if that's okay.

A. 0kay.

Q. Do you reca11 in your affidavit stating
about riding in a vehic]e with other officers?

A. Yes.

Q. Can you eiaborate on other officers you
wouid ride with?

A. I rode with Stacy Miiier. I rode with

Mike Johns. I rode with Terrence Ho1mes.

Q. Okay.
A. I rode with Brad Narat, Anthony Brown.
Q. And at the same time, wou1d you ever see

any of the other officers riding together?
A. Yeah.

Q. I mean, did you guys have working patr01

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 10 of 63

 

 

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cars?
A. We had working patro1 cars, but sometimes
they wou1d go down and need service or whatever, so

we wou1d jump in a car with another officer if they

were out.
Q. Okay. Are there times when you wou1d jump
in a car that officer -- even if your car wasn't

there, carpoo] to a iocation?

A. Maybe to training, something 1ike that,
you know. I rode with Stacy one time to our -- it
was a specia1 response team PT test, so the test we
had to do to be on the team. Of course, everybody
with the City didn't have an option. We had to be on
the team at the time. That was part of the ru1e.

So we 1eft the PD, where the PD was
iocated there on 17 in Darien, and went over to

Butier Isiand where we did our PT test.

Q. PT test?
A. Yes.
Q. When you were with Darien PD, wou1d

officers have significant others, their wives or
girifriends ride aiong with them?

A. Yes, I've had mine ride with me on
numerous occasions.

Q. And did you have to go and ask for

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 11 of 63

 

 

11

permission from the chief?

A. No. It was pretty much common knowiedge
that if you wanted to have a ride~a1ong or whatever
-- on1y unti1 right before I 1eft -- I think it was
Lieutenant Lightsey at the time -- he started -- the
best I can remember, he started a thing where you
had to fi11 out a paper if you wanted to ride, and
that wouid cover anybody, you know, riding in the
vehic]es, the City vehic]es.

Q. when you say --

A. whereas before -- whereas before, 1ike
Anthony wou1d -- he'd be out, and I'd say, Hey, you
know, so-and-so is going to come ride with me. He
wou1d say, Okay. That's coo1. No probiem.

Q. when you say a form, you mean for
civiiians to ride a1ong?

A. Yes. Yeah.

Q. would it surprise you to 1earn that that
form disappeared the minute Lightsey disappeared from
the PD?

A. we11, I -- when I seen them, they were
threw into the drawer. I mean, they weren't put in a
fi]e. From what I seen, they were just fi11ed out
and put in a drawer, and I don't know what happened

to them.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 12 of 63

 

 

12

Q. Let me rephrase that. I mean that the
form itse]f wasn't even a used form anymore, 1ike it
is not a form that anyone has testified to sti11
using after Lieutenant Lightsey was gone.

A. That reaiiy doesn't surprise me, no.

Q. And so whi1e you were there, it was common
knowiedge that you cou]d have your significant
others ride with you?

A. Yes.

Q. And whi1e you were there, did you observe
individuaTs that wouid take their vehicies to run
errands?

A. Yes. I've stopped on the way home and
picked up groceries and stuff at the store.

Q. wou]d you have to ask for individua1

permission to do that?

A. Huh-uh.
Q. was it common knowiedge you cou]d do it?
A. Yeah. Chief Howard, he said, “Hey, if you

need to stop by the store or whatever on the way
home," he said, "you know, just go on in and do what
you got to do."

Q. And for the unmarked vehicies the
investigators had, to your know1edge, were they

driving even further distances for private reasons?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 13 of 63

 

 

13

A. I knew -- at the time, he was my sergeant,
but Sergeant Davis, Archie Davis, he would take his
car to Rome to visit his girlfriend. His reasoning
for that was he was -- of course, he was the SRT
leader, commander, whatever, and he had to -- if he
needed to get back to the county, to the city in an
emergency, that was the reason why he drove that
car.

Q. And he at some point went on a part-time
kind of reserve hiatus. Do you recall that or --

A. Yeah, he did.

Q. And during that time, he would still take
his vehicle?

A. No, because his vehicle -- Lieutenant

Lightsey had his vehicle at the time.

Q. Okay.
A. Yeah.
Q. And when he -- the girlfriend you're

mentioning, that's the woman he ended up marrying

eventually; correct?

A. Yes.

Q. 0kay.

A. Yeah.

Q. And do you recall ever seeing Lieutenant

Roundtree drive his vehicle?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 14 of 63

 

 

14

A. Yeah, I've seen him drive it, but me and
Lieutenant Roundtree never really -- we weren't
really close, so I didn't keep up with what he did.

Q. was he in your chain of command?

A. Yeah, he was.

Q. was he your immediate supervisor?

A. No, he wasn't.

Q. So you didn't have a daily interaction?

A. I didn't have daily interaction, no.

Q. Okay. And while you were at Darien, did
you ever see officers being written up for riding
together in cars?

A. No.

Q. Did you ever see officers that were told

that there was a particular officer they couldn't
ride with?

A. No.

Q. while you were there, was there anyone
writing up officers for failing to go 10-41 or 10-42
with dispatch?

A. No.

Q. Have you ever heard of anyone being
terminated for that?

A. No. I've done it myself. I've forgotten

to go 10-7 on the radio or, you know --

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 15 of 63

 

 

15

Q. And that means the same thing as the 10-41
and 10-42; correct?

A. 10-7 just means you're out of service,
yeah.

Q. 0kay. And while you were at Darien --
employed with Darien PD, do you recall ever hearing
Chief Howard express an opinion about interracial
dating?

A. The only thing I heard in context that I
took for, you know, his opinion of interracial dating
was I was sitting in the parking lot of B&J's one
evening. And I was in a vehicle, and he was talking
to another person, and he made the statement that
when he found out Carly was dating Barry Deverger,
which is a black male, that he went over to Butler
Island to one of those -~ Massman or one of those
roads over there and he vomited. He puked. And it
was along those lines of -- you know, he became ill
when he learned that his daughter was dating him.
So, I mean, that's --

Q. would you have taken it -- is it possible
that it would have been the same sentence if it --
when I learned Carly was dating a white man?

MS. HANCOCK: Object to form.

Go ahead and answer.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 16 of 63

 

16

THE wITNESS: No, no. I mean, I -- the
way I -- the way I took it was he was
specifically talking about the black male

because that was kind of the conversation, you

know ~-

Q. (By Ms. Mitchell) That was --

A. -- he was having.

Q. Okay. That was in the context of the

conversation?

A. Right, yeah.

Q. The conversation itself was about --

A. Yeah.

Q. -- white women dating black men?

A. Yes.

Q. And then he provided an example?

A. Right.

Q. That made him physically ill?

A. Yes.

Q. So you can't see any way to reframe that

sentence that would make it about any man?
A. I do not.
MS. HANCGCK: Object to form.
Q. (By Ms. Mitchell) Okay. And so now, in
terms of people dating at the PD, did Joe and Carly

start dating before you left?

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 17 of 63

 

 

17

A. I don't know, to be honest with you. I

can't really --

Q. Okay.
A. -- remember.
Q. All right. Now, the PD, while you were

there, were there occasions when you would respond
to a call, but an incident report wasn't necessary?

A. Yeah. That was -- that's just -- that was
the way things were done. You can go to a call. If
it didn't involve a criminal incident, you wouldn't
document it.

Q. what if you responded to a call and
learned that the complainant, the alleged perp, and
the alleged incident all occurred in another county?

A. No, that's a -- we wouldn't have

jurisdiction to even do a report on it, so --

Q. So there wouldn't even be a way to do the
report?

A. No.

Q. Okay.

A. Now, let me -- I will explain, since being

at the Sheriff's Office, we do reports on everything.
So even if that situation were to arise, we would do
a miscellaneous report to cover ourselves, that we

did speak with these people, however the incident

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 18 of 63

 

 

18

occurred in another county, so they were instructed

to go to that jurisdiction and file the complaint.

Q. And you just identified a miscellaneous
report.

A. Right.

Q. Is that separate from an incident report?

A. Yeah, a miscellaneous report, that --

because we don't have any grounds to do anything.
Q. So the incident report itself would still
be not -- well, inappropriate because you don't have

jurisdiction?

A. It's a C -- it's what they call CYA, cover
your ass.
Q. Okay. But that is not the practice that

was at Darien PD?
A. No.
Q. And have you ever heard Darien PD officers

on the radio say STAT3?

A. Yeah.

Q. what does that mean?

A. It's unfounded and no action taken.

Q. And if they're STAT3, is that something

that you were taught when you were at Darien PD?
A. Yeah. It's part of the radio.
Q. And when you would go STAT3, does that

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 19 of 63

 

 

19

indicate you would not be doing any report?

A. Yeah, I wouldn't do a report. we don't do
it now with the County. when 1 STAT3, like if we
respond to an alarm call and to a church and we
speak to the pastor and he says, Hey, I'm sorry. I
set it off by accident, I would STAT3 it.

Q. So just because you actually had
interaction with a human doesn't mean you then write
a report about it?

A. Right.

Q. So when you would be going STAT3, I mean,
was there anyone coming behind you to determine if
you had messed up and that's one you should have
written a report on?

A. Not that I can remember. I mean, we
pretty much governed ourselves.

Q. And you weren't the only one that -- you
just said governed yourselves. I mean, that was
pretty much how the entire department operated?

A. Yeah.

Q. And, to your knowledge, do the officers

still use STAT3 for Darien PD?

A. They do.
Q. when's the most recent time you heard it?
A. well, wednesday, I think Officer Marat or

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 20 of 63

 

 

20

Sergeant Marat, whatever he is now, he responded
to a domestic that was given out, that the male
subject had struck the female in the head. They
determined that there was no violence, and he came
over the radio and said that there was no violence,

and he STAT3'd it, you know,

Q. Did the Sheriff's Office respond to that
call?

A. we did.

Q. who got there first?

A. we did.

Q. where was Officer -- and for them to be
coming, it was in City limits?

A. Yeah. well, we have a Zone 2 deputy that

stays, and part of his zone is the City of Darien.
Q. But the responding officer, his zone
wasn't the city limits?
A. Yeah.
Q. I guess I'm confused. The zone is the

city limits, but --

A. Yeah, his --

Q. -- but he wasn't ~-

A. Yeah, he's --

Q. -- in it? He was coming from somewhere in

the county?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 21 of 63

 

 

21
A. No, the deputy --
Q. No, no. I'm talking about Marat.
A. Dh, Marat. well, his jurisdiction is just
the city.
Q. Is the city?
A. Right.
Q. Gkay. And the call was for in the city?
A. Yeah. It was Black Road.
Q. But, meanwhile, the SO beat him there

because the City officer was not even in the city
limits?
MS. HANCOCK: Object to form.
THE wITNESS: Dh, yes. Yeah. He wasn't
in the city limits.
Q. (By Ms. Mitchell) I guess I understand.

Okay. So where was he coming from?

A. He was coming from the county.

Q. And the SO, did you guys go STAT3?

A. we turned it over to the City because it's
their -- we -- we do not take over -- we allow the

City to do their job, so my deputies would turn it
over to the City. we‘d STAT9 it to the City because
STAT9 means turn over to.

Q. And so in that situation he came out --

A. He -- based on what where I seen him at on

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 22 of 63

 

 

22

the map, he came from Carnaghan, which is out in our
Zone 3, which is a good ways out of city limits.
Q. Approximately how far drivewise is it from

the city limits?

A. It's about 10 miles.

Q. About 10 miles out?

A. (Nods head.)

Q. Okay. And you said he came, and then he

went STAT3?

A. Yeah.
Q. So --
A. Once he conducted his investigation of it,

he determined there was no violence that had taken
place, and he just STAT3'd it. Now, if --

Q. Is it -- I apologize.

A. If it was us and it was our call, solely
our call, my people would do what is called a
miscellaneous report.

If there is no evidence of physical
violence, then you would notate it in a report. That
way, in case something happened later on, that they
did get in a fight or one party killed the other,
there was a record that, you know, we've been there
for this, you know.

Q. Okay. And would it change at all if when

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 23 of 63

 

 

23

you arrived you learned that everything is from a

different jurisdiction, that there is no witness,

there is no perp, there is no claim that involves

anything in the county, so it's got to be STAT9 to
another county?

A. Yeah. I mean, we'd -- like I said
earlier, if it ~- if we determined that it happened
in a different county or a different city or
whatever, we would tell them to go to that place

where the actual offense took place --

Q. would you --

A. -- and --

Q. Sorry.

A. -- and they would -- they would handle the

situation at that point.
Q. would you write up your officer for not
doing an incident report in that scenario? An

incident report.

A. And incident report?

Q. Uh-huh.

A. No.

Q. Okay.

A. Because there's no incident.

Q. And, now, in terms of at Darien, when you

would be working on reports, would the time period

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 24 of 63

 

 

24

that you tell citizens, would it be three to five
business days and their reports would be available?

A. That was standard, yeah.

Q. And was it common that it would take an
officer for some types of reports a couple of days as
opposed to the same day?

A. Yeah, depending on -- yeah, depending on
what the call was and, you know, how -~ how severe it
was or whatever. But -~

Q. Is that actually -- sorry.

A. But we are instructed to get our reports
done before we go on our off days, that they need to
be done and in the system for approval before we go
off. Like we work like wednesday and Thursday;
we're off today, Saturday, and Sunday. Anything we
had wednesday and Thursday need to be in the system,

loaded to be approved before we left yesterday.

Q. Oh, because today's Friday?

A. Right.

Q. I apologize.

A. That's okay.

Q. And is that kind of common across

agencies?
A. Yeah, as far as I know. Every agency I've

ever had any dealings with, that's what their

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 25 of 63

 

 

25
officers say they -- that's the way it was with
Darien.

Q. Okay.
A. Archie, he always, you know, harped on it,

that the reports need to be completed.

Q. If one of your officers now underneath
your command on patrol was late with taking a full
four days on a report but wasn't off, would you write
him up for it?

A. I would try to figure out what's going on
with it. Vou know, unless CID got involved with it
or something, you know, I would look into it and
determine --

Q. So you're saying you might have questions?

A. Yeah, I would have questions, like, why is
this report not done? If you had four days, you
know, and the call volume is low -- we have mobile
units -- we have mobile laptops in the car, so it's
not like you can't work on them --

Q. And if call volume was high, that would be
a factor you --

A. Yeah.

Q. -- would consider?

So you would actually analyze the

situation to determine why?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 26 of 63

 

 

26

A. Right, yeah. I don't just to go in and
start raising hell for -- yeah, I look into all the
-- what's causing the delay, and then I make my
decision at that point. `

Q. Now, Officer Robinson was -- did his
employment with Darien PD -- while you were there,
did he come on, working with Darien PD?

A. Yeah.

Q. And while you were still at Darien PD, I

mean, did you hear any complaints regarding Officer
Robinson and his work ethic?

A. No. No, I didn't hear anything.

Q. Did you hear any complaints about Officer
Miller's work ethic, like her investigations being
shabby or missing court or --

A. I --

Q. Actually she was still Patrol at the time,
wasn't she?

A. Yeah, she was in Patrol. Yeah.

Q. I apologize. Scratch that entirely.

Now, when you were leaving Darien PD at
that time, right before you left, was it a structured
department, where officers were each being held to
the same standard for their conduct and behavior?

MS. HANCGCK: Object to form.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 27 of 63

 

 

27

THE wITNESS: Not really. I mean, it was
pretty much, you know, go out and do your job,
but, you know, there wasn't a -- like a set form
of how we do certain things, you know.

Q. (By Ms. Mitchell) Have you ever heard the
phrase -- when people are talking about law

enforcement, have you ever heard the phrase "being a

cowboy"?

A. Yeah.

Q. Have you ever heard that phrase applied to
the PD?

A. Several times.

Q. Have you heard that phrase applied lately
to the PD?

A. Yes.

Q. In fact, there's a current excessive force

investigation underway with GBI right now; correct?
For Darien PD?

A. ¥es, there is.

Q. Has that phrase been used for that

situation as well?

A. Yes, it has.
Q. Have you ever heard the phrase being used
for -- have you ever heard it used for Officer

Creswell?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 28 of 63

 

 

28
A. Yes.
Q. Officer Creswell, wasn't he originally
sworn in as a Sheriff's Deputy?
A. No. He was -- he worked at BPD, Brunswick

Police Department. He left Brunswick Police
Department, came to work at Darien Police Department.

He was sworn in as a deputy for special purposes.

Q. Yes. I apologize.

A. Yeah.

Q. I worded it wrong. He was deputized.
A. He was deputized --

Q. He wasn't --

A. -- for special purposes because he was --
because we had a joint County/City SRT, Special
Response Team. And we had so many members from the
city, so many members from the County. And they
served high-risk search warrants, high-risk arrest
warrants, things like that, responding to active
shooters.

Q. Did the Sheriff end up dedeputizing Joseph
Creswell?

A. Yes.

Q. was it after multiple warnings of driving
through the county at 100 miles an hour?

A. Yes.

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 29 of 63

 

 

29
Q. And these incidents of him driving this
recklessly, were they told to the chief?
MS. HANCOCK: Object to form.
THE wITNESS: Yes.
Q. (By Ms. Mitchell) And to your knowledge,

was Officer Creswell ever punished for his excessive
speed or reckless driving?

A. with the times that he's been caught doing
it, no, I don't guess so.

Q. And even after being deputized, have you
still seen or heard of the situations where he
drives excessive speeds?

A. I haven't seen much of him because he has
been reassigned to Narcotics investigator. So I
don't -- I don't see much of him.

Q. Okay. And when you were in Patrol, I
mean, would you drive recklessly to catch up to

chases that were already outside the county?

A. when I was with the City?
Q. Yes.
A. No, because I would like to go home and

end my shift, so I --
Q. If you had, is that an idea of what makes
you a cowboy, when they say that?

MS. HANCDCK: Object to form.

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 30 of 63

 

 

30

THE wITNESS: I don't understand what --

Q. (By Ms. Mitchell) well, help me out.
what do you generally mean, when law enforcement
refers to another one as a cowboy, a bunch of
cowboys? what does that generally mean? Like so is
it -- believe me, it's not like there's going to be a
webster's Dictionary for that.

A. Oh, yeah. I mean --

Q. I just mean like some of -- you've heard

it in conversation, one police --

A. pretty much just do --
Q. -- officer says it --
A. -- do however you want to; there's no

structure, no repercussions for your actions.

Q. And since your time with the Sheriff's
Office, have you still had multiple occasions where
you interacted with guys from the PD?

A. Yeah.

Q. Have you had calls where both departments
have responded?

A. Yes.

Q. Have you had, when SRT was in place,
warrants being served with both departments?

A. There were warrants being served with both

departments; however, whenever I left the City, I

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 31 of 63

 

 

31
didn't rejoin the SRT when 1 came with the County.

Q. Okay. will -- would you see officers ever
in non duty-related ways, like lunch -- like would
you be -- would there be any interaction at B&J's or

A. Yeah.

Q. Okay. Now, so in your years since leaving

the PD, do you still see the same structure that you
saw when you left, that it --
A. It's ran the same way.
Q. Ran the same way?
And, now, can you recall a situation where
-- well, when stuff happens at the PD involving an
officer getting in trouble or at the Sheriff's

Office, does it spread?

A. Yeah, of course.

Q. And you said "of course." I mean, like
wildfire --

A. Yeah, I mean, it's --

Q. -- correct?

A. well, it's -- a law enforcement community

is no different than any other little community. we

have -- you know, stuff get's around, you know.
Q. Yep. So when Officer Robinson first got
in trouble with Darien PD -- let me rephrase that

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 32 of 63

 

 

32

strike it.

Can you remember when you first heard of
Robinson starting to be in trouble at Darien PD,
getting in trouble?

A. I noticed shortly before he was fired I
kept on hearing things about, you know, he would get
in trouble for this, and then I found out he was
suspended on a certain occasion for assisting us
with an investigation which he had nothing to do
with.

He showed up after everything was done to
the meeting location. we did use Stacy Miller as a
UC for those buys. It was our drug -- our PE-FI
money, I have PE-PI receipts for that. As a matter
of fact, I just sent the guy to 12 years in prison.

Q. what's PE-PI?

A. That is just funds set aside for
purchasing drugs and things that, you know --

Q. Uh-huh.

A. No, I know there was some
misunderstanding. I think the chief may have thought
that that money came from the City, but we have never
borrowed money from the City to buy drugs. we don't
need their money?

Q. That's never been a practice before?

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 33 of 63

 

 

33

A. No.

Q. Did you have permission to use Stacy?

A. Yes.

Q. But that was Stacy?

A. That was Stacy.

Q. So help me understand. To your knowledge,
if that was Stacy, why --

A. I had a --

Q. -- was Robinson --

A. I had a phone --

Q. -- punished?

A. l have had a phone call from Chief Howard

that said that they were not to work together
because they could not get things done, that their
cases were falling behind, their work performance
was poor, and that they wouldn't -- that we
weren't -- I'm trying to remember how he put it now.
Basically, those two were not to be

working together. If we wanted use Stacy, that was
fine. But the two of them together, working
together, because they wasn't getting things done

Q. 0kay. And then was he able to actually
provide an example of anything he said wasn't
getting done?

A. 1 didn't ask for one. I just told him --

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 34 of 63

 

 

34
I said, “0kay," you know.
Q. well, until the chief said that, had you
heard that come out of anybody else's mouth?
A. No.
Q. Now, the way the departments talk, if an

officer was actually starting to slack off on all of
their cases, isn't that the kind of thing that gets
gossiped about?

MS. HANCOCK: Object to form.

THE wITNESS: Yes.

Q. (By Ms. Mitchell) Have you heard it
before when it's happened that way?

A. Yeah.

Q. Is it common that if an officer is
starting to slack on his or her work that is gossiped
about?

A. It's no different than working in a
factory or whatever. I mean, when somebody starts
slacking, you know, somebody's got to pick up the
work. And when they start bitching --

Q. would it be rare if an officer was
slacking off on his caseloads and investigations
weren't getting done and nobody else knew about it?
would that be rare?

A. Yeah, because, I mean, once a case gets

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 35 of 63

 

 

35

turned over to Investigations, the investigator
deals with the victim at that point or the -- you
know, whatever -- whatever the case may encompass.
And they're responsible for that case from then
forward, you know.

And if cases aren't getting prosecuted
and, you know, something's -- you know, there's got
to be evidence of it. Either the narratives aren't
getting done, the supplements aren't getting done,
interviews aren't getting done. There's all kinds
of proof for it, so

Q. And when you talk about the proof, you
mean all kinds of ways -- all kinds of ways people
would notice it wasn't being done?

A. Yeah.

Q. So the idea that it would be not being
done but nobody else knows about it, how would that

even happen?

A. I don't know. I don't --

Q. And, populationwise, is Darien a smaller
town?

A. Darien is like 3 square miles, so

Q. So the victims of crimes in Darien, they

would notice if law enforcement investigators

weren't contacting them?

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 36 of 63

 

36
A. Yeah.
MS. HANCOCK: Object to form.

Q. (By Ms. Mitchell) Do the locals gossip?

A. well, even when I was with the City, I was
stopped by citizens every now and then saying that
we spent too much time on the interstate and we
didn't spend enough time patrolling the city, so

Q. So do you think it would be -- well, in

your experience, would it be rare if a local wasn't
complaining if their case was not being addressed?

MS. HANCOCK: Form.

THE wITNESS: If I had a case, I would
complain, too, you know. I mean, that's --
everybody, when they have a situation like that
and it involves an investigation, that's -- you
know, they have a right to be upset if it's not
getting taken care of.

Q. (By Ms. Nitchell) Do you remember Jason
Register?

A. I do. He was my sergeant at one point.

Q. And Officer Register, Sergeant Register,
did he have a drinking problem?

A. He -- yeah, he had an issue with alcohol.

Q. when he was on the wagon, when he was

sober, was he an attentive sergeant?

 

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 37 of 63

 

 

37
A. Oh, yeah. You couldn't -- you'd ask him
any -- you could ask him anything to do with law
enforcement, he had -- he was like an encyclopedia.
Q. If Officer -- if Sergeant Register was

starting to experience symptoms of his alcoholism,
would you be able to see it in his work performance?
A. Yeah.
Q. when that would happen, would everybody be

able to see it?

A. ¥eah; It was evident.

Q. would everybody then start talking about
it?

A. Yes.

Q. would it spread like wildfire?

A. Yes.

Q. So guys at the 80 would know it about it,

too, wouldn't they?

A. Yes.

Q. Can you think of anyone that you have ever
actually interacted with in a law enforcement
capacity that you found out after the fact was
having significant work performance decline that
nobody knew about?

A. No.

Q. Can you think of anyone you've now ever

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 38 of 63

 

 

38

interacted with that it turns -- that after the fact
you find out that they were allegedly having
overwhelming emotional instability problems?

A. No.

Q. Have you ever found out after the fact
that there was an officer that was, for instance, not
turning in reports, not finishing investigations,
not getting warrants signed, just a couple of months
worth of piled up information that you had never
heard of until after the fact? I mean, is that
something you've ever experienced before?

MS. HANCOCK: Object to form.

THE wITNESS: No, because a warrant -- I
mean, I could tell you what would happen in this
situation in the SO. Somebody would be giving
some answers, you know, but it wouldn't go two
months because it's -- well, I mean, you have a
-- you have a certain structure in the
Investigations Department at the SO, whereas the
City was always one investigator. And I don't
know if the chief ever even know what -- half of
the stuff that was going on. I mean, I don't
know. I didn't know, honestly. I just --
patrol was my thing, and I left it at that. I
didn't --

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 39 of 63

 

 

39

Q. (By Ms. Mitchell) But if individuals were
actually being complained about, you would have heard
it?

A. Oh, yeah, of course. Yeah.

Q. Okay. And did the suspension for Officer
Robinson, did that -- well, did you have any l
questions about why it was he was suspended?

A. well, I believe Melton was -- Mike Melton
was the one who told me about it. He told me -- he
said that Korone was suspended and the reason for his
suspension was that he needed to rethink his
loyalty.

And my response to that was, "what the
hell?" You know, that's -- and I told him. I said,

"That's bullshit."

Q. Did you ever --

A. That he didn't do anything -- he didn't do
anything at the -- during the investigation at all.
He showed up after -- after everything was done. we

were filling out paperwork. I think he was talking
to Doug Shire at the time. Doug Shire was on duty,
and he had pulled up out there.

Q. After Donnie had said he didn't want
Korone and Stacy helping with any of the narcotics

cases, did Korone ever violate that order from the

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 40 of 63

 

 

40
chief?

A. No, I didn't see Korone again. No. The
last -- the next time I saw Korone, he was in a
Patrol uniform in a Patrol car.

Q. No. No, I'm not talking about after the
suspension. I mean once Korone was told to quit
working with you, did he -- with the City --

A. That's what I'm saying.

Q. I'm not saying it in reverse?

A. That's what I'm saying. l didn't see him

again. The next time I seen him, he was in a Patrol

uniform.
Q. Patrol uniform?
A. Yeah.
Q. Okay. And did Chief Howard ever call you

back to actually ask what, if anything, Korone had
actually done with that investigation that he got
suspended for?

A. No.

Q. Did Ryan Alexander ever call you to ask if
Robinson had actually done any work with the SO?

A. No.

Q. And when he was transferred to Patrol, did
you find that odd?

A. well, I mean, after I found out that he

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 41 of 63

 

 

41
was suspended and they -- and the reason given was
that, I -- it didn't surprise me with Ryan.

Q. And when -- did you ever hear that he was
going to be terminated?

A. I'm trying to think. He -~ I did not hear
anything about him being -- going to be terminated,
but then I found out he was terminated, you know,
after the fact.

Q. Okay. And when he was terminated from the
PD, did you make any recommendations to the
Sheriff's Office about his being hired?

A. Yeah. I went to the Sheriff and advocated
for him to be hired.

Q. why?

A. I didn't see a problem with him. ¥ou
know, his -- Korone always kept to himself, and he
did his thing, and that was -- you know, in my
personal opinion, he was screwed over.

Q. So your interactions with him would have

been mostly professional interactions?

A. Yeah.
Q. I mean, are you and Korone -- I keep
saying personal and close together -- are you and

Korone close personal friends?

A. we are now, yeah.

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 42 of 63

 

 

42
Q. were you at the time?
A. No.
Q. And --
A. I didn't know much about Korone and his

personal life. I just knew about his work. You
know, I had been around things that he had been
involved in, you know, and I seen what he was capable
of doing. And I told the Sheriff, I said he would be
a great asset for the Department. He just needs
somebody to give him a chance.

Q. Did you have any reservations about making
that recommendation in light of the fact he had just
been fired?

A. If I did, I wouldn't have never went to
the Sheriff's Office.

Q. All right. And you said in your personal
opinion he had been screwed over?

A. Yeah.

Q. what of your observances go into that
opinion? Like what all --

A. I think they just wanted him fired, and
they found a reason to get rid of him.

MS. MITCHELL: Okay. I don't have any
further questions.

MS. HANCOCK: Okay. I have a couple of

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 43 of 63

 

 

43
follow-ups.
EXAMINATION
BY MS. HANCGCK:
Q. Officer Gault, when did you -- or Deputy
Gault ~~ I'm sorry -- when did you learn that Korone

Robinson and Stacy Miller were romantically
involved?

A. It was after I went to the County. I
don't even know whenever they started really dating.
I knew they hung out and everything a lot, but I
don't get into people's business. I don't ask
questions about, you know, who is he seeing or --

Q. Okay. And that's -- were you and he not

personal friends at that point?

A. we weren't. we didn't talk.

Q 0kay.

A. Yeah.

Q So I assume you just heard through the

rumor mill at some point --

A. Yeah.
Q. -- that they were dating?
A. Yeah, it came out, you know, that Korone

and Stacy are dating.
Q. And that would have been sometime after

July of 2014?

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 44 of 63

 

 

44
A. Oh, yeah.
Q. Any idea how long after that?
A. No.
Q. All right.
A. I don't know, honestly.
Q. Have you ever had any romantic or sexual

involvement with Stacy Miller?

A. No.

Q. Before you talked to Chief Howard about
him saying, "I don't want Korone and Stacy working

together,' if Stacy's helping you, had Korone been
helping with drug raids or other investigations the
Sheriff's Office was performing?

A. No, because at the time -- at the time,
Korone didn't really -- he didn't really like the
Sheriff. He had a personal opinion of the Sheriff
at the time, that, you know, he thought the Sheriff
was not who he really is.

So he didn't associate with the Sheriff's
Office. He didn't really associate with any of the
deputies. He hung close with Ryan. He was very
close with Ryan at the time at the PD.
And so when he came up that night, I was

actually surprised that he was there, you know,

because, like I said, he didn't really -- he never

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 45 of 63

 

 

45

really had anything -- but then, I guess with things
happening at the workplace, problems with Ryan and
different ones at Darien PD, I guess, you know,
maybe -- maybe he -- he didn't really care anymore
what they thought he did.

Q. was that the first time that you

personally saw him hanging around --

A. Yeah.
Q. -- the Sheriff's deputies?
A. well, I mean, it's not like he would avoid

us completely.
Q. Right. I know he's not like giving you

the cold shoulder --

A. But as far as -- yeah.

Q. -- or anything. But as far as coming out
to --

A. Exactly.

Q. -- spend time around the Sheriff's -~

A. Yeah, that's about the first time I can

ever remember.

Q. Okay. And was that the first time that
Stacy had been used for a confidential ~- to go along
with a confidential informant?

A. No. No, not with the Sheriff's Office.

She was used as a UC whenever she first got in law

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 46 of 63

 

46
enforcement with the PD.
Q. Okay. Had she been used regularly, then
A. Yeah.
Q. -- at the Sheriff's 0ffice?
A. Uh-huh.
Q. Are you aware of what Officer Robinson was

driving when he came out that night?

A. Yeah. He was in a white GMC crew cab.
Q. wow.
A. with a brush guard on the front of it.

COURT REPORTER: with a what on front.
THE wITNESS: A brush guard.
COURT REPORTER: Thank you.
THE wITNESS: Yeah.
As a matter of fact, that's Anthony
Brown's. That's the truck that Anthony Brown
has right now, or I guess he's still got it.
Q. (By Ms. Hancock) when you overheard a
conversation between Chief Howard and someone else in
the parking lot about who his daughter was dating, do

you know who he was talking to?

A. I cannot remember who he was talking to.
It was another -- it was another male.
Q. Okay. And as you remember it, the exact

 

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 47 of 63

 

 

47

quote was that he used the names of people? He was

saying, Carly is dating Barry Deverger, you said?

A. He -- his --
Q. -- is dating Barry Deverger?
A. His -- it was more along the lines, when I

found out Carly was dating that one she was with.

Q That one? So he didn't use the name?

A. No.

Q How did you know the name?

A. Because I knew who Carly was dating. I
know who he was referring to. I knew who he was
referring to Barry Diverger, a black male.

Q. And what was the rest of the conversation?
You said there was some context. Do you remember
what else Chief Howard had said?

A. Oh, no. He just -- basically what the --
the conversation revolved around interracial dating,
a white female dating a black man. And then that's
when he made the statement. That's when he made
that.

Q. Okay. Did Chief Howard say, I don't like
it when white females date black men?

A. No, he didn't come out and say that, but,
I mean, he got physically ill. So I guess he felt

some type of way about it.

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 48 of 63

 

 

48
Q. when he found out his daughter was dating
that specific person?
A. Right.
Q. Okay. Do you at the Sheriff's 0ffice do a

miscellaneous report for a STAT9?

A. Yes, we do.

Q. Did you do them at the PD as well?
A. No.

Q. All right. Do you know if you were

supposed to be doing them at the PD?

A. If we were, we would have been told.
Q. Okay.
A. I've never seen the policy while I was

there, so

Q. And you were asked some questions about
the level of knowledge that travels between the law
enforcement agencies --

A. Yes.

Q. -- up there. If somebody is having a
meltdown at the BPD --

A. Yeah.

Q. -- then it's going to be talked about at
the Sheriff's 0ffice.

A. Yeah, absolutely.

Q. Does that extend to every level of

 

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Case 2:17-cv-OOO99-LGW-BWC Document 27-10 Filed 06/18/18 Page 49 of 63

 

 

49

problems? If someone is having -- if someone is
having some minor issues at the BPD, is it your
testimony that everybody at the Sheriff's 0ffice is
going to know about it?

A. Maybe not, and maybe not to a certain
extent. But law enforcement gossips, and they talk
about everything. And they -- it's a brotherhood,
fraternity, whatever. But they -- rumors get talked
about, Problems with different people get talked
about, That's why I keep to myself and I don't
really associate with anybody.

Q. So they're probably not gossiping about
you, then; right?

A. If they are, I don't care. I know what I
do.

Q. And someone like Officer Robinson, who you
said has, you know, taken steps to not really
associate with the Sheriff's 0ffice, would he still

be gossiped about if there's something going on with

him -~
A. Yeah.
Q. -- the guy nobody knows?
A. Yeah.
Q. The Sheriff's 0ffice is just going to be

talking about how no one has ever hung out with this

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 50 of 63

 

 

50

guys, but, you know, There's this guy named Officer
Robinson, and I hear he's having problems?

A. No. what happens is, I mean, the PD
officers talk to the deputies at lunch and
everything, and they talk about what goes on, the
same as deputies do with the PD officers.

Q. Okay.

A. It's no different than you do with your
colleagues.

MS. HANCOCK: All right. That's all that

I had. Thank you.

THE wITNESS: You're welcome.
EXAMINATION
BY MS. MITCHELL:
Q. when you left to go to the Sheriff's

Department, what did Korone tell you? Do you

remember?

A. He said, "Good luck, but I don't like the
Sheriff."

Q. And real quick, you just said you didn't

-- you know, you'd never seen policy when you were
there. would you be required to sit down and have
training over the policy for this PD?

A. I was never required to sit down and look

over anything.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 51 of 63

 

 

51

Q. was anybody, to your knowledge when you
were there, ever required to sit down and go over
anything?

A. Not that I know of.

Q. And have you heard of anyone since then
being forced to sit down and go over policies?

A. The only agency I've ever heard of that
happening at is Glynn County PD.

Q. Okay. And --

A. well, we have recently implemented at the

Sheriff's 0ffice -- they issued everybody a thumb
drive with the policy on it, and you were given so
many weeks to go over it, and then you were to sign
that you read it and that you understood it.

Q. But beyond that, it's not part of the
daily job?

A. No. I mean, I review policy in the

position I'm in to make sure that we follow it.

Q. Because you're now a supervisor?

A. Right.

Q. So you like to know what the policy says?
A. Yes. I don't like to half-ass anything.

Q. would it surprise you if the supervisors

at the PD said they had no idea what their policy

says?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 52 of 63

 

 

52

A. No.

Q. would that be consistent with the
behaviors you observed from the supervisors at the
PD?

A. Pretty much.

Q. And in terms of the dating Stacy, you said
until you finally heard about it through the
grapevine; correct?

A. Yeah.

Q. Can you try to remember, when you finally

heard about it, was it close in time to when you also
started hearing bad things about Officer Robinson?

A. Yeah. It just gradually got worse. You
know, it was like buildup, like a snowball effect.

Q. So it started -- but that started around

the same time --

A. Uh-huh.
Q. -- hearing about that Robinson and Stacy
were dating and then hearing -- starting to hear

complaints about Robinson are close in time in your

memory?
A. Yeah. Yeah.
Q. And then from there --
A. Before then -- before -- before that, I

never heard anything. It was like he was one of the

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 53 of 63

 

 

53

guys.

Q. And the night before he was fired, do you
recall seeing Officer Robinson anywhere?

A. He came by the Sheriff's 0ffice. Me and
Mike were sitting in the office, and he came in.
And, as a matter of fact, that's the next -- that's
the last -- that's the time I seen him after that
night, He came in, up to the Sheriff's 0ffice, and
was talking to me and Mike in the Investigations
0ffice. And he was on patrol, and then he got
dispatched to a call at B&J's, or I think -- the
chief called him for something, and --

Q. Are you sure it was the chief? Did you
hear the radio?

A. Yeah, 101.

Q. 0kay. which is whose call sign, I mean,
whose badge number?

A. Donnie Howard.

COURT REPORTER: I'm sorry. what's the
name.
THE wITNESS: Donnie Howard.

Q. (By Ms. Mitchell) All right. And then
one last question would be an example of gossip.
while you were at the SO, did you remember hearing PD

guys talking about Gary Stevenson and him having to

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 54 of 63

 

 

54

go see a mental health professional?

A. Yeah. I mean, that -- I think Gary has
been a couple of times to see somebody.

Q. Is that something that you would consider
actually private?

A. Yeah.

Q. But everybody still knew about it, didn't
they?

A. Right.

Q. And that would be an example of the PD and

the 80 just telling each other each other's
business?
A. Exactly.
MS. MITCHELL: 0kay. I don't have any
further questions.

MS. HANCOCK: Let me just follow up

quickly.
EXAMINATION
BY MS. HANCOCK:
Q. The night that you were sitting in the

Investigations office with Officer Robinson and you
said he was fired the next day, do you know what the
date would have been or around when that was?

A. I don't.

Q. Okay. Do you know if the next --

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 55 of 63

 

 

55

A. I don't know --

Q. I'm sorry?

A. I don't know what -- what day it was
whenever I -- we were in the 0ffice. I know that --
I know that the next day he was terminated.

Q. Okay.

A. Because I remember Mike telling me about
it. He said, "You know they fired Korone."

Q. Your information about that was from Mike?

A. Yes.

Q. Okay. Did you ever talk to Officer

Robinson about him possibly coming to work for the

Sheriff's 0ffice ~-

A. I did --

Q. -- before you found out he was terminated?

A. I don't remember talking to him about it.

Q. Okay.

A. No, I don't think -- me and Korone didn't
really -- I don't recall having too much in

conversation with Korone up until the point where he
was fired and then I went to the Sheriff to get him
a job.

Q. what was he doing hanging out in your
office if he wasn't someone you really knew at that

point?

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 56 of 63

 

hall.

 

MS. HANCOCK: All right. Thank you.
MS. MITCHELL: No further questions.
THE wITNESS: I waive.

(Brief recess from 1:26 p.m. until 1:35

(Discussion held off the record.)

56

A. Him and Mike had history from Brunswick
PD. Mike was his supervisor there.

Q. Okay.

A. So he was more or less coming up there to
talk to Mike.

Q. Okay.

A. And I was just in there, in the 0ffice.

MS. MITCHELL: we are back on the record

for Officer Gault. He is drawing a diagram of

the Narcotics investigation room at the new

Darien headquarters.

doing.

EXAMINATION
BY MS. MITCHELL:
Q. So if you can explain so far what you're
A. This is -- basically, you walk down the

The PD is an old wing of a YDC school center.

So you've got windows going to the outside, and

there's two windows. You've got your desks. The

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 57 of 63

 

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desks were pretty much in line with the windows.
when you walk in, this desk was Jonathan
Howard. This desk was Sidney Bush.

MS. HANCOCK: Can you put initials on it.

THE wITNESS: I will.

This desk was Ryan Alexander, and this one
was Korone. Of course, at the -- on the front
of Ryan's desk was a Swastika flag.

The amount of distance between the two was
6 to 8 foot. 80 I don't know specifics, but the
flag was very visible. From the time you walked
in the front door, you could see it. I mean,
when you walked in the room, you would see the

flag hanging off the front of the desk.

Q. (By Ms. Mitchell) was it a full-sized
flag?

A. Yeah. It took up the whole front of it.

Q. And in the space in between the desks --

how tall are you?
A. 6'2".
Q. Do you feel like you could have laid, head

to foot, and sit between the desks?

A. Should be able to.
Q. So you're positive that the space between
desks, though, wouldn't be either -- I don't know

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 58 of 63

 

58
what that's called -- pressed flat against each
other?

A. No, they weren't flush.

Q. Flush, that's the word.

Or at the most was maybe about 2 feet?

A. No.

Q. Okay.

A. No. There was -- there was more distance
than 2 foot.

Q. Okay. And, to your knowledge, who did
that flag belong to?

A. I thought -- I -- I always knew -- knew it

to be Ryan's because it was in the old drug office
before I really seen Korone starting, coming around.
Q. Coming around?
And you wouldn't have been in the drug
office a lot at the old PD?
A. No. But anytime they had the door open,
you could see it up on the wall.
Q. 0kay. And have you ever heard anyone say
-- other than when this case started, have you ever
heard anyone say that the flag belonged to Robinson?
A. No.
MS. MITCHELL: Okay. I don't any further

questions.

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 59 of 63

 

 

59

EXAMINATION
BY MS. HANCOCK:

Q. Let me just clarify with you, what is the
time period for which you're saying this was the
setup that you would have been in there personally
observing it?

A. From the time we moved in to the new PD
until the time I left.

Q. Okay. And I guess we know when the move

was, so that was several months, I guess, that --

A. And I left in July of '14.

Q. Okay. Had you seen it at all after you
left?

A. I hadn't been back in the PD. I don't --

Q. Okay.

A. -- think I've been in the 0ffice. Maybe

two times, but I never went in that end of the PD. I
went in the front.

Q. And you've never personally seen Ryan
Alexander hang that flag up or heard him say that

it's his; correct?

A. I have not.

Q Okay.

A. But, I mean --
Q All right.

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 60 of 63

 

 

A. -- it was attached to his desk.

MS. HANCOCK: Okay.

MS. MITCHELL: we're done. This time I
mean it.

MS. HANCOCK: Thank you.

MS. MITCHELL: I apologize.

60

MS. HANCOCK: That's definitely our best

diagram.

MS. MITCHELL: It is. We should have had

him do them.

So we'll mark this as P-3 -- 1.

MS. HANCOCK: I think it's 1.

THE COURT REPORTER: 0ne.

(Plaintiff's Exhibit 1 was marked for
identification.)

(Deposition concluded at 1:39 p.m.)

(Pursuant to Rule 30(e) of the Federal
Rules of Civil Procedure and/or O.C.G.A.
9-11-30(e), signature of the witness has been

waived.)

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 61 of 63

 

 

61
1 CERTIFICATE 0F COURT REPDRTER
2
3 STATE 0F GEORGIA:
4 COUNT¥ 0F GLYNN:
5
6 I hereby certify that the foregoing
transcript was reported as stated in the caption
7 and the questions and answers thereto were
reduced to writing by me; that the foregoing 60
8 pages represent a true, correct, and complete
transcript of the evidence given on Friday,
9 February 23, 2018, by the witness, ROBERT GAULT,
who was first duly sworn by me.
10 I certify that I am not disqualified for a
relationship of interest under 0.C.G.A.
11 9-11-28(0); I am a Georgia Certified Court
Reporter here as an independent contractor of
12 Gilbert & Jones, Inc., who was contacted by
Mitchell & Reddock to provide court reporting
13 services for the proceedings; I will not be
taking these proceedings under any contract that
14 is prohibited by 0 C.G.A. 15-14-37(a) and (b) or
Article 7.C. of the Rules and Regulations of the
15 Board; and by the attached disclosure form I
confirm that neither I nor Gilbert & Jones,
16 Inc., are a party to a contract prohibited by
0.C.G.A. 15-14-37(a) and (b) of Article 7.C. of
17 the Rules and Regulations of the Board.
This the 17th day of March, 2018.
18
19 _,.,WMMW…M“
21
22 Suzanne R. Robinson
Certified Court Reporter,
23 5026-1420-3354-3168
7 24
25

 

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 62 of 63

 

 

62

DISCLOSURE OF NO CONTRACT

I, Debbie Gilbert, do hereby disclose
pursuant to Article 10.B of the Rules and
Regulations of the Board of Court Reporting of
the Judicial Council of Georgia that Gilbert &
Jones, Inc., was contacted by Katie S. Mitchell
to provide court reporting services for these
proceedings and there is no contract that is
prohibited by 0.C.G.A. 15-14-37(a) and (b) or
Article 7.C. of the Rules and Regulations of the
Board for the taking of these proceedings.

There is no contract to provide reporting
services between Gilbert & Jones, Inc., or any
person with whom Gilbert & Jones, Inc., has a
principal and agency relationship, nor any
attorney at law in this action, party to this
action, party having a financial interest in
this action, or agent for an attorney at law in
this action, party to this action, or party
having a financial interest in this action. Any
and all financial arrangements beyond our usual
and customary rates have been disclosed and
offered to all parties.

This the _18th~” day of March, 2018.

w MM‘“

Debbie Gilbert
FIRM REPRESENTATIVE
Gilbert & Jones, Inc.

 

 

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Case 2:17-cv-00099-LGW-BWC Document 27-10 Filed 06/18/18 Page 63 of 63

 

 

 

 

 

